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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  The CALIFORNIA INSTITUTE OF
  TECHNOLOGY,

                 Plaintiff,

                 v.                                          Case No. 2:21-CV-0446-JRG

  SAMSUNG ELECTRONICS CO., LTD. and                         JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS AMERICA,
  INC.

                 Defendants.


   JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

       Plaintiff The California Institute of Technology (“Plaintiff”) and Defendants

Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (“Defendants”)

(collectively, “the Parties”) hereby file this Joint Motion to Stay All Deadlines and Notice of

Settlement.

       The Parties have reached a settlement in principle of all matters in controversy between the

Parties and are in the process of finalizing the documents pertaining to the settlement. The Parties

wish to conclude the settlement without burdening the Court with additional filings and without

incurring unnecessary expense. The Parties anticipate they will be able to submit the dismissal

papers by September 7, 2023. Accordingly, the Parties respectfully request that the Court grant a

brief stay of all proceedings between the Parties, including all pending deadlines between the

Parties until September 7, 2023.

       The Parties submit that good cause exists for granting this Motion, as set forth above.

The Motion is not filed for the purposes of delay but rather so that justice may be served.


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        Accordingly, the Parties respectfully request that the Court enter the proposed order

submitted with this Joint Motion and grant the Parties such other and further relief to which they

are entitled.


 Dated: August 8, 2023                           Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for the Parties have complied with

Local Rule CV-7(h). The Parties are jointly seeking the relief sought in this Motion.


                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of the foregoing document via the

Court’s CM/ECF system per Local Rule CV-5(a)(3) this August 8, 2023.



                                                      /s/ Melissa R. Smith
                                                      Melissa R. Smith




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